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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA


MEAGAN CREWS                    *
                                *
                    Plaintiff   *                         CIVIL ACTION NO.
                                *                         17-CV-234
v.                              *
                                *                         JUDGE SHELLY D. DICK
ACCOUNT CONTROL BUREAU and      *
EXPERIAN INFORMATION            *                         MAGISTRATE JUDGE
SOLUTIONS, INC.                 *                         ERIN WILDER-DOOMES
                                *
                     Defendants *
***************************


                                            ORDER

       CONSIDERING the Stipulation of Dismissal with Prejudice Between Plaintiff and

Defendant Experian Information Solutions, Inc. filed by the Plaintiff, into the record of the

captioned matter;

       IT IS HEREBY ORDERED that this action is DISMISSED with prejudice as to

Defendant, Experian Information Solutions, Inc., each party to bear its own costs.


       Baton Rouge, Louisiana the 23rd day of October, 2018.



                                                 S
                                             HONORABLE SHELLY D. DICK
                                             MIDDLE DISTRICT OF LOUISIANA
